           Case 2:05-cr-00113-WBS Document 211 Filed 01/22/07 Page 1 of 3
1    George Paul Trejo, Jr.
2    THE TREJO LAW FIRM
     701 N. 1st Street, Suite 103
3    Yakima, WA 98901
     (509) 452-7777
4
5    Attorney for Eduardo Price Curiel
6
7                              UNITED STATES DISTRICT COURT
8                             EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                )
                                              ) No. CR-05-113-LLK-4
11                              Plaintiff,    )
12                                            ) STIPULATION RE: CONTINUANCE OF
     vs.                                      ) HEARING ON JUDGMENT AND
13                                            ) SENTENCE
     EDUARDO PRICE CURIEL,                    )
14                                            ) DATE: February 27, 2007
15                                            ) Time: 9:30 a.m.
                                              ) Hon. Lawrence K. Karlton
16                              Defendant.    )
17          It is hereby stipulated by and between the UNITED STATES OF AMERICA, by
18   and through, Robert M. Twiss, Assistant United States Attorney, GEORGE PAUL
19   TREJO, JR., counsel for defendant Eduardo Price Curiel, that the hearing on Judgment
20   and Sentence currently set for January 23, 2007, be vacated and reset for February 27,
21   2007 at 9:30 a.m. Due to Mr. Trejo being out sick with the flu.
22          Dated this 23rd day of January, 2007.
23
                                       McGregor W. Scott
24
                                       United States Attorney
25
                                       s/Robert M. Twiss
26                                     ROBERT M. TWISS
                                       Assistant United States Attorney
27
28                                     THE TREJO LAW FIRM

     STIPULATION RE: CONTINUANCE OF                                                 GEORGE PAUL TREJO, JR.
                                                                                          TREJO LAW OFFICE
     HEARING ON JUDGMENT AND SENTENCE               - 1-                        701 NO. 1ST STREET, SUITE 103
                                                                                            YAKIMA WA 98901
                                                                                                (509) 452-7777
                                                                          GPTREJO@THETREJOLAWFIRM.COM
         Case 2:05-cr-00113-WBS Document 211 Filed 01/22/07 Page 2 of 3
1
                                    s/George Paul Trejo, Jr
2                                   GEORGE PAUL TREJO, JR.
                                    Counsel for Eduardo Price Curiel
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          IT IS SO ORDERED.
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7
          The court having reviewed the records and files herein and considered the
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       stipulation of the parties, IT IS HEREBY ORDERED:
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          1.    The stipulation for a continuance of Sentencing is GRANTED. The
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                Sentencing presently set for January 23, 2007 is hereby continued to
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                February 27, 2007 at 9:30 a.m.
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          DATED this 22nd day of January, 2007.
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     STIPULATION RE: CONTINUANCE OF                                            GEORGE PAUL TREJO, JR.
                                                                                     TREJO LAW OFFICE
     HEARING ON JUDGMENT AND SENTENCE             - 2-                     701 NO. 1ST STREET, SUITE 103
                                                                                       YAKIMA WA 98901
                                                                                           (509) 452-7777
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         Case 2:05-cr-00113-WBS Document 211 Filed 01/22/07 Page 3 of 3
1
                                    CERTIFICATE OF SERVICE
2
3
            I hereby certify that on January 22, 2007, I electronically filed the foregoing with
4
     the Clerk of Court using the CM/ECF system which will send notification of such filing
5    to the attorney(s) of record for the defendant(s) and the Government. I hereby certify
6    that I have served the attorney(s) of record for the defendant(s) that are non CM/ECF
7    participants via telefax.
8
9
10                                            THE TREJO LAW FIRM
                                              S/George Paul Trejo, Jr.
11                                            George Paul Trejo, Jr.
12                                            Attorney at Law

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     STIPULATION RE: CONTINUANCE OF                                                 GEORGE PAUL TREJO, JR.
                                                                                          TREJO LAW OFFICE
     HEARING ON JUDGMENT AND SENTENCE               - 3-                        701 NO. 1ST STREET, SUITE 103
                                                                                            YAKIMA WA 98901
                                                                                                (509) 452-7777
                                                                          GPTREJO@THETREJOLAWFIRM.COM
